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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY EMPLOYEES
 UNION, et al.

                        Plaintiffs,

        v.                                            Case No. 25-0381-ABJ

 RUSSELL VOUGHT, in his capacity as
 Acting Director of the Consumer Financial
 Protection Bureau, et al.

                        Defendants.


             [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION
                     OF SARAH HOLLENDER PRO HAC VICE

       This matter having come before the Court on a motion of Ariel Levinson-Waldman,

counsel for Amicus Curiae Tzedek DC, for the admission of Sarah Hollender pro hac vice as co-

counsel for Tzedek DC, and the Court having considered the arguments and papers submitted

herein, and for good cause shown:

       IT IS SO ORDERED on this ___ day of ______________, 2025, as follows:

   1. Tzedek DC’s Motion for Admission of Sarah Hollender Pro Hac Vice is GRANTED.



                                                  BY THE COURT:


Date: March ___, 2025                             ______________________
                                                  United States District Judge
